       Case 1:19-mc-00145-TSC Document 291-5 Filed 10/09/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 IN THE MATTER OF THE FEDERAL
 BUREAU OF PRISONS'EXECUTION
 PROTOCOL CASES


 LEAD CASE: Roane et al. v. Barr                    No. l:19-mc-00145(TSC)

 THIS DOCUMENT RELATES TO:

 ALL CASES




                            DECLARATION OF ERIC WILLIAMS


I, Eric Williams, do hereby declare and state as follows:

1.     I am currently employed by the Bureau of Prisons (BOP) as Warden at the Federal

       Correctional institution at Greenville, Illinois (FCI Greenville). I am also   involved in


       functions related to the BOP’s role in effectuating executions.

2.     The statements I make hereinafter are made on the basis of my review of the official files

       and records of the BOP, my own personal knowledge, or on the basis of information

       acquired by me through the performance of my official duties.

3.     I am aware that the execution of William LeCroy is at issue in the above referenced lawsuit.

       I witnessed the execution on September 22,2020,from inside the execution room, several

       feet from Mr. LeCroy. My observations are as follows.

4.     In preparation for the execution, LeCroy was brought into the execution room and placed

       on a bed. LeCroy remained calm and polite while the restraints were applied and during

       the placement ofthe IV lines. I never observed LeCroy to be in pain,discomfort, or distress


                                                1
     Case 1:19-mc-00145-TSC Document 291-5 Filed 10/09/20 Page 2 of 3




     during this time, and he did not indicate to me, or anyone else in the execution room that

     he was experiencing any pain or distress.

5.   After the successful placement of the IV lines, LeCroy’s Minister of Record was escorted

     into the execution room and the two conversed.


6.   At the appropriate time, the curtains raised and I asked LeCroy if he would like to make a

     statement. LeCroy responded by saying his Minister of Record would be reading his last

     statement. I then read LeCroy’s sentencing information aloud, and asked the U.S.

     Marshal’s representative to check whether there were any impediments to proceed with the

     execution. The U.S. Marshal’s representative informed me there were no impediments to

     proceed.

7.   Thereafter, the administration of the lethal injection substances began. LeCroy continued

     to display a calm and comfortable demeanor. He was quiet and still. Shortly after the

     lethal injection substances were administered, I heard LeCroy take a deep breath.

     Subsequently he snored loudly one time. During this time, I could see his chest and

     stomach rise and fall, under the sheet that was placed over him.

8.   LeCroy was a large individual (who weighed 288 lbs. on January 15, 2020, according to

     medical records), with a pronounced abdominal area that protruded under the sheet.

     Therefore, the rise and fall of his abdomen was very apparent. It did not appear to me.

     however, that LeCroy was experiencing discomfort, or that he was struggling for air.

     During the entirety of the execution, LeCroy did not appear to be in any sort of distress,

     discomfort, or pain. He did not grimace or make any sounds or movement whieh would

     indicate to me he was experiencing distress, discomfort, or pain.

9.   A short time after he took a deep breath and snored, it appeared to me that LeCroy was in

     a deep, comfortable sleep, with his eyes closed. LeCroy did not make any other sounds

                                             2
       Case 1:19-mc-00145-TSC Document 291-5 Filed 10/09/20 Page 3 of 3




       and he did not appear to be in any distress, discomfort, or pain.

10.    After several minutes, a physician entered the room and checked LeCroy’s heartbeat with

       a stethoscope. Thereafter, time of death was pronounced at approximately 9:06 p.m. A

       second physician examined LeCroy and confirmed the pronouncement of death.




I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

correct. Executed this   L   day of October, 2020.



                                                     Eric Williams
                                                     Federal Bureau of Prisons




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